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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

 JANSSEN BIOTECH, INC.

                                Plaintiffs,

                        v.
                                                        Civil Action No. l:17-cv-11008-MLW
 CELLTRION HEALTHCARE CO., LTD.,
                                                          PUBLIC REDACTED VERSION
 CELLTRION, INC., and
 HOSPIRA, INC.

                                Defendants.

     DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF MOTION IN LIMINE
        NO. 8: TO PRECLUDE EVIDENCE AND ARGUMENT FROM JANSSEN
                    CONCERNING PRIVILEGE INSTRUCTIONS
         REGARDING THE CHANGE OF MANUFACTURING TO SINGAPORE

I.      INTRODUCTION

        During their depositions, when asked about Celltrion’s decision to move the manufacturing

site of the accused cell culture media from Utah to Singapore, Celltrion’s witnesses were correctly

instructed not to reveal privileged information, and they followed those instructions. Yet Janssen

seeks to argue that the Celltrion witnesses were “disingenuous[]” because they followed counsel’s

instructions. Dkt. 193 at 1. The Court should exclude any such evidence and prohibit any such

attempt to impeach or otherwise discredit Celltrion’s witnesses because “no adverse inference shall

arise from invocation of the attorney-client and/or work product privilege.” Knorr-Bremse Systeme

Fuer Nutzfahrzeuge GmbH v. Dana Corp., 383 F.3d 1337, 1344 (Fed. Cir. 2004). At the very least,

any such suggestion is highly misleading and prejudicial, and would only serve to confuse and

prejudice the jury, while shedding no light on the credibility of Celltrion’s witnesses.




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II.      BACKGROUND

         During the pendency of this lawsuit, GE HyClone moved the location where it

manufactures the accused cell culture media purchased by Celltrion from Utah to Singapore. This

move was long in the works, beginning in 2012, before Celltrion was aware of the ’083 patent.

Ex. 1, 2016 Cho. Dep. Tr. at 132:13-133:1. In 2015, before the move to Singapore had been

implemented, Celltrion had internal discussions relating to the timing of the move. Those

discussions were based on

                                            Dkt. 193 at 10. At the time of the depositions at issue,

Defendants maintained the attorney-client privilege with respect to communications related to the



         During those depositions, Janssen counsel asked Celltrion witnesses about the change in

manufacturing location from Utah to Singapore. For example, Janssen’s counsel asked Celltrion’s

Jong Moon Cho:




See, e.g., Ex. 1, 2016 Cho Dep. Tr. at 132:13-15. Celltrion’s counsel properly instructed Mr. Cho

not to reveal privileged communications in his answer, and Mr. Cho followed that instruction:




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      Indeed, when Defendants discovered that certain documents discussing the move to Singapore
      had been inadvertently disclosed in unredacted form, they promptly clawed back those
      documents as privileged and re-produced them in redacted form. Ex. 2, 2/1/2018 Hoang Ltr.
      to Fischer; Ex. 3, 2/2/2018 Hoang Ltr. to Fischer.



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Id. at 132:16-133:1. A similar exchange occurred at the deposition of Celltrion’s Dr. Jeon:




Ex. 4, Jeon Dep. Tr. at 207:21-208:7.

       To the extent Celltrion’s witnesses knew anything about the                               that

knowledge was based on privileged attorney-client communications. Thus, Celltrion witnesses

did not reveal information (assuming that they even possessed any) about the                      in

their answers about the move to Singapore. Notably, Janssen did not challenge Celltrion counsel’s

privilege instructions at either deposition and has never challenged those instructions since.

       On February 28, 2018, three weeks (in the case of Dr. Jeon) and two years (in the case of

Mr. Cho) after their depositions, Janssen moved to compel unredacted versions of documents that

Defendants had produced in redacted form. By that time, the Court had ruled that Janssen would

be permitted to present its new theory that manufacturing Inflectra with Singapore-made media

still infringes under § 271(f), meaning that the jury will receive evidence about GE HyClone’s

move to Singapore. Dkt. 183 (2/20/2018 Memorandum and Order). In March, 2018, Defendants

decided not to burden the Court with a dispute over privilege redactions that they then viewed as

unnecessary. Dkt. 212.

       Nonetheless, Janssen now alleges that Celltrion witnesses “disingenuously… claimed that

the move to Singapore                                                           Dkt. 193 (Janssen’s


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2/28/2018 Motion to Compel) at 1. Janssen thus plans to attack the “credibility of Celltrion

witnesses” on the basis of alleged inconsistencies between the deposition testimony and the now

unredacted documents. Janssen is wrong for two reasons.

       First, Celltrion witnesses did not testify that the move to Singapore had altogether

                             Dkt. 193 at 1. The testimony Janssen cites from Mr. Cho’s deposition

does not support Janssen’s assertion that he

              Dkt. 193 at 9-10. Rather, Mr. Cho was asked whether moving manufacturing to

Singapore was                                                        he responded by noting that




Ex. 1, 2016 Cho. Dep. Tr. at 132:13-133:1. Mr. Cho’s testimony about the 2012 time period,

                                                does not support Janssen’s claim that he

                                                        Dkt. 193 at 1.

       Second, Janssen’s assertion that Celltrion’s witnesses testified inconsistently with the

previously privileged documents is also wrong. For example, Janssen argues that Mr. Cho testified

that the move to Singapore                                          but stated in a 2015 e-mail that

the move to Singapore


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                                                               Dkt. 193 at 10 (citing CELLREM-

0362046). The testimony Janssen cites is the same as above. Ex. 1, 2016 Cho. Dep. Tr. at 132:13-

133:1. But there is no contradiction. The deposition and email note the move to Singapore was



      Id.; Dkt. 193 at 10 (citing CELLREM-0362046). The 2012 discussions that Mr. Cho’s

answer refers to



                   Id. at 132:20-133:1.

       Janssen’s allegation that testimony from Celltrion’s leader of corporate regulatory affairs,

Dr. Min Kyoung Jeon, is inconsistent is similarly inaccurate. Janssen points to e-mails Dr. Jeon

received indicating a                 was one consideration in the move to Singapore. Dkt. 193 at

10. Janssen alleges that this contradicts her deposition, during which she gave only “benign

reasons” for the move to Singapore,                                                 Id. (citing Ex.

Ex. 4, Jeon Dep. Tr. at 207:21-208:22).




                                                                                 Id. at 207:21-22,

208:9-11. In both instances, Dr. Jeon was instructed not to reveal privileged information in her

response. Id. at 207:23-208:2, 207:12-16.

       Dr. Jeon’s answers




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                                                                                                  Nor

would she have any particular reason to remember discussions about the                          in her

capacity as a regulatory lead, responsible for “regulatory affairs to get approval from European

agencies and the FDA.” Id. at 7:23-8:10. Indeed, as shown above, she said “I don’t know why

the facility should be in Singapore.” Id. at 208:17-18. Finally, Janssen cites no evidence that the

“benign” reasons Dr. Jeon did provide were inaccurate. Dkt. 193 at 10.

III.   ARGUMENT

       Janssen seeks to have the jury infer that Celltrion witnesses were dishonest because they

followed their counsel’s instructions on privilege. The Court should preclude Janssen from doing

so for three reasons.

       First, the Federal Circuit has held that “no adverse inference shall arise from invocation of

the attorney-client and/or work product privilege.” Knorr-Bremse, 383 F.3d at1344.             This is

because there is a strong public interest in protecting attorney-client privilege, the purpose of which

is “is to encourage full and frank communication between attorneys and their clients and thereby

promote broader public interests in the observance of law and administration of justice.” Upjohn

Co. v. United States, 449 U.S. 383, 389 (1981). An adverse inference based on the assertion of

privilege, as Janssen effectively seeks here, would impermissibly create a “risk of liability in

disclosures to and from counsel in patent matters” and “intrude upon full communication and

ultimately the public interest in encouraging open and confident relationships between client and

attorney.” Knorr-Bremse, 383 F.3d at 1344. Applying the Knorr-Bremse rule, this district has

granted a similar motion in limine. As is the case here, in Smith & Nephew, Inc. v. Interlace Med,

the plaintiff sought to draw an adverse inference from deposition testimony in which the


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defendant’s witness invoked the attorney-client privilege regarding legal opinions about the patent-

in-suit. Ex. 5, Smith & Nephew, Inc. v. Interlace Med., Inc., No. CIV.A. 10-10951-RWZ, Dkt.

149-16 (MIL #16) at 2. The plaintiff, relying on Knorr-Bremse, moved to “preclude argument of

an adverse inference based upon defendant’s invocation of the attorney-client privilege with

respect to the [patent-in-suit].” Id. The court agreed, granting the motion to “bar any adverse

inference from defendant's invocation of the attorney-client privilege.” Smith & Nephew, Inc. v.

Interlace Med., Inc., No. CIV.A. 10-10951-RWZ, 2012 WL 3560811, at *4 (D. Mass. Aug. 17,

2012).

         Here, Defendants’ counsel properly instructed Celltrion witnesses not to reveal privileged

communications in answering questions about the move from Utah to Singapore. Celltrion

witnesses answered the questions they were asked, but, following the instructions, did not reveal

privileged information in their responses. There is nothing disingenuous about a witness following

an instruction not to reveal privileged information, and it would be highly prejudicial to penalize

Celltrion witnesses simply because they followed counsel’s instructions on privilege.2 Fed. R.

Evid. 403. Celltrion witnesses cannot be faulted for following those instructions and their decision

to follow those instructions has nothing to do with credibility. To imply otherwise runs afoul of

the Knorr-Bremse rule.

         Second, that the witnesses did not reveal privileged information is not relevant as it has

nothing to do with credibility. Fed. R. Evid. 402 (“Irrelevant evidence is not admissible.”). Any



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    As the Court previously found after Defendants’ motion to compel, Janssen’s counsel made
    overreaching privilege instructions during depositions of Janssen witnesses. Dkt. 570; Dkt. 568
    (6/1/2017 Hrg. Tr.) at 28:15–17. While Defendants moved the Court to get answers to the
    questions, they did not suggest the witness’s following of the instruction called the witness’s
    credibility into question. See Dkt. 571 (Joint Report on proposed remedies to privilege ruling).
    Nor could they seek such an inference without violating Knorr-Bremse.


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effort by Janssen to cast aspersions on Celltrion witnesses because they did not talk about the

                when asked about the reasons for the move to Singapore, would be improper because

the witnesses had a privilege basis for doing so, and were instructed by their counsel accordingly.3

         Third, Janssen is simply wrong that Celltrion witnesses were “disingenuous[],” or even

inconsistent, in their deposition testimony about the move to Singapore, Dkt. 193 at 1, and any

attack on that basis creates an unacceptable risk of misleading and confusing the jury and wasting

its time. Fed. R. Evid. 403.

         Mr. Cho correctly testified that

                                                                                     Ex. 1, 2016 Cho.

Dep. Tr. at 132:13-133:1. Dr. Jeon testified about several reasons why the move to Singapore was

made (Ex. [], Jeon Dep. Tr. at 207:21-208:22), none of which Janssen has disputed,



                                                                               Id. at 208:3-8, 208:17-

22.     Regardless, it would be unreasonable to say that she should have remembered any

consideration of                   given her unrelated role as a regulatory lead; instead, she testified

“I don’t know why the facility should be in Singapore.” Id. at 208:17-18.

         Put simply, Janssen cannot properly impeach Mr. Cho or Dr. Jeon based on the Singapore

documents and e-mails where no contradiction exists. Any attempt to do so is not only an improper

impeachment, but it would risk misleading the jury into believing that Mr. Cho and Dr. Jeon had

been “disingenuous[]” in their depositions, or risk misleading the jury into believing that Celltrion

had something to “hide,” which per above, would be inappropriate given the instructions not to


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      Evidence about the reasons for the move to Singapore should also be excluded as evidence of
      a subsequent remedial measure under Federal Rule of Evidence 407, as explained in
      Defendants’ MIL No. 4. Dkt. 349.



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reveal privileged information. See Knorr-Bremse Systeme Fuer Nutzfahrzeuge GmbH v. Dana

Corp., 383 F.3d 1337, 1344 (Fed. Cir. 2004) (“There should be no risk of liability in disclosures

to and from counsel in patent matters”).

IV.    CONCLUSION

       For the foregoing reasons, Defendants respectfully request that the Court grant Defendants’

motion in limine to preclude evidence and argument from Janssen related to Celltrion’s witnesses

following instructions not to reveal privileged information regarding the change of manufacturing

to Singapore.




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Dated: May 18, 2018                Respectfully submitted,

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                                   and Hospira, Inc.

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                                 CERTIFICATE OF SERVICE

        I, Andrea L. Martin, hereby certify that this document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) and paper copies will be sent to those indicated as non-registered participants on May 18,

2018.

                                               /s/Andrea L. Martin, Esq.
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